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MIDDLE DISTRICT 0F FLoRIDA '_ z 4

 

'I`AMPA DIVISION §
CASE NO.:

JANET HOYT,

plaintiff 31 \% CJ 7»\ q \/\_ 2'5 m
vs. lNJUNCTIVE RELIEF SOUGHT
STEIN MART, INC.,
d/b/a STEIN MART,

Defendant.

/
COMPLAINT

Plaintiff, JANE'I` HOYT (“Plaintifi”), by and through undersigned counsel, hereby files
this Complaint and sues STEIN MART, INC. d/b/a STEIN MART (“Defendant”) for declaratory
and injunctive relief, attomeys’ fees, expenses and costs (including, but not limited to, court costs
and expert fees) pursuant to 42 U.S.C. §12182 et. seq., and the 2010 Americans with Disabilities

Act (“ADA”) and alleges as follows:

JURISPICTION AND VENUE
l. This Court is vested with original jurisdiction over this action pursuant to 28 U.S.C.
§1331 for Plaintiff’ s claims arising under Title 42 U.S.C. §12182 et. seq., based on Defendant’s
violations of Title III of the ADA. See also 28 U.S.C. §§2201 and 2202 as well as the 2010 ADA
Standards.
2. Venue is proper in this Court, 'l`ampa Division, pursuant to 28 U.S.C. §1391(B) and
the Intemal Operating Procedures for the United States District Court for the Middle District of

Florida in that all events giving rise to the lawsuit occurred in Hillsborough County, Florida.

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PARTIES

3. Plaintiff, JANET HOY'I`, is a resident of the state of F lorida residing in Palm Beach
County, Florida, and is otherwise sui juris.

4. Upon information and belief, Defendant is the lessee, operator, owner and/or lessor
of the Rea| Property, which is subject to this lawsuit, and is located at 3916 Britton Plaza, Tampa,
Florida 33611 (“Premises”) and is the owner of the improvements where the Premises is located.

5. The Premises is a place of public accommodation

6. Defendant is authorized to conduct, and is in fact conducting, business within the
state of Florida.

7. Plaintiff is an individual with numerous permanent disabilities including extreme,
chronic arthritis in her lower extremities; the loss of use of her legs; rheumatoid arthritis in both
her arms and legs; a floating knee; a fractured leg; multiple ankle surgeries; and both significant
scarring and scar tissue build up in her knees due to numerous surgeries. The above listed
permanent disabilities and symptoms cause sudden onsets of severe pain and require Plaintiff to
use a mobility device at all times and substantially limit Plaintiff’ s major life activities. In addition,
P|aintiff requires the use of a handicapped parking space and is legally authorized to use same.

8. Plaintiff frequently travels to the Middle District of Florida and the Tampa area and
averages four (4) trips per year. Weather and health permitting, Plaintiff will at least continue this
pattern of travel.

9. At the time of Plaintiff’s visit to the Premises on July 5, 2018 (and prior to
instituting this action), Plaintiff suffered from a “qualifled disability” under the ADA and required

accessible means of entry at the Premises. Plaintiff personally visited the Premises, but was denied

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full and equal access and full and equal enjoyment of the facilities, services, goods and amenities
within the Premises, even though she was a “bona fide patron”.

lO. Plaintiff, in her individual capacity, will absolutely return to the Premises in the
near future and avail herself to the services offered at the Premises when Defendant modifies the
Premises or modifies the policies and practices to accommodate individuals who have physical
disabilities

ll. Plaintiff is continuously aware of the violations at Defendant’s Premises and is
aware that it would be a futile gesture to return to the Premises as long as those violations exist,
and Plaintiff is not willing to suffer additional discrimination.

12. Plaintiff has suffered, and will continue to suffer, direct and indirect injury as a
result of Defendant’s discrimination until Defendant is compelled to comply with the requirements
of the ADA.

13. Plaintiff would like to be able to be a patron of the Premises in the near future and
be able to enjoy the goods and services that are available to the able-bodied public, but is currently
precluded from doing so as a result of Defendant’s discriminatory conduct as described herein.
Plaintiff will continue to be precluded from using the Premises until corrective measures are taken
at the Premises to eliminate the discrimination against persons with physical disabilities

14. Completely independent of her personal desire to have access to this place of public
accommodation free of illegal barriers to access, Plaintiff also acts as a “tester” for the purpose of
discovering, encountering and engaging discrimination against the disabled in public
accommodations When acting as a “tester”, Plaintiff employs a routine practice. Plaintiff
personally visits the public accommodation; engages all of the barriers to access, or at least of

those that Plaintiff is able to access; tests all of those barriers of access to determine whether and

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the extent to which they are illegal barriers to access; proceeds with legal action to enjoin such
discrimination; and subsequently returns to the Premises in the near future to verify its compliance
or non-compliance with the ADA and to otherwise use the public accommodation as members of
the able-bodied community are able to do. Independent of other subsequent visits, Plaintiff also
intends to visit the Premises regularly to verify its compliance or non-compliance with the ADA,
and its maintenance of the accessible features of the Premises, In this instance, Plaintiff, in
Plaintiffs individual capacity and as a “tester”, visited the Premises, encountered barriers to access
at the Premises, engaged and tested those barriers, suffered legal harm and legal injury and will
continue to suffer such harm and injury as a result of the illegal barriers to access and the violations
of the ADA set forth herein. It is Plaintiffs belief that said violations will not be corrected without
Court intervention, and thus Plaintiff will suffer legal harm and injury in the near future.

15. Plaintiff, in her capacity as a tester, will absolutely return to the Premises when
Defendant modifies the Premises or modifies the policies and practices to accommodate
individuals who have physical disabilities to confirm said modifications have been completed in
accordance with the requirements of the ADA.

VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT

16. Plaintiff adopts and re-alleges the allegations stated in paragraphs l through 15
above as if fully stated herein.

17. On July 26, 1990, Congress enacted the ADA, 42 U.S.C. §12101 et. seq.
Commercial enterprises were provided one and a half (l .5) years from enactment of the statute to
implement its requirements 'l`he effective date of 'l`itle III of the ADA was January 26, 1992, or
January 26, 1993 if Defendant has ten (10) or fewer employees and gross receipts of $500,000.00

or less. See 42 U.S.C. §12182; see also 28 C.F.R. §36.508(a).

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18.

Congress found, among other things, that:

some 43,000,000 Americans have one or more physical or mental disabilities and
this number shall increase as the population continues to grow older;

historically, society has tended to isolate and segregate individuals with disabilities
and, despite some improvements such forms of discrimination against disabled
individuals continue to be a pervasive social problem, requiring serious attention;
discrimination against disabled individuals persists in such critical areas as
employment, housing, public accommodations, transportation, communication,
recreation, institutionalization, health services, voting and access to public services
and public facilities;

individuals with disabilities continually suffer forms of discrimination, including
outright intentional exclusion, the discriminatory effects of architectural,
transportation, and communication barriers, failure to make modifications to
existing facilities and practices, exclusionary qualification standards and criteria,
segregation, and relegation to lesser services, programs, benefits, or other
opportunities; and

the continuing existence of unfair and unnecessary discrimination and prejudice
denies people with disabilities the opportunity to compete on an equal basis and to
pursue those opportunities for which our country is justifiably famous, and costs
the United States billions of dollars in unnecessary expenses resulting from

dependency and nonproductivity.

42 U.s.c. §12101(a)(i )-(3),(5) and (9).

19.

Congress explicitly stated that the purpose of the ADA was to:

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a. provide a clear and comprehensive national mandate for elimination of
discrimination against individuals with disabilities;

b. provide clear, strong, consistent, enforceable standards addressing discrimination
against individuals with disabilities; and

c. invoke the sweep of congressional authority, including the power to enforce the
fourteenth amendment and to regulate commerce, in order to address the major
areas of discrimination faced on a daily basis by people with disabilities

42 U.S.C. §12101(b)(1)(2) and (4).

20. Pursuant to 42 U.S.C. §12182(7), 28 CFR §36.104 and the 2010 ADA Standards,
Defendant’s Premises is a place of public accommodation covered by the ADA by the fact it
provides services to the general public and must be in compliance therewith.

21. Defendant has discriminated, and continues to discriminate against Plaintiff and
others who are similarly situated by denying access to and full and equal enjoyment of goods
services facilities, privileges advantages and/or accommodations located at the Premises, as
prohibited by 42 U.S.C. §12182, and 42 U.S.C. §12101 et. seq., and by failing to remove
architectural barriers pursuant to 42 U.S.C. §12182(b)(2)(A)(iv).

22. Plaintiff has visited the Premises and has been denied full and safe equal access to
the facilities and therefore suffered an injury in fact.

23. Plaintiff will return to the Premises in the near future and enjoy the goods services
facilities privileges advantages and/or accommodations at the Premises on a planned, or a
spontaneous full and equal basis However, Plaintiff is precluded from doing so by Defendant’s

failure and refusal to provide persons with disabilities with full and equal access to its facilities at

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the Premises, Therefore, Plaintiff continues to suffer from discrimination and injury due to the
architectural barriers that are in violation of the ADA.

24. Pursuant to the mandates of 42 U.S.C. §12134(a), on July 26, 1991 , the Department
of Justice, Office of the Attomey General promulgated Federal Regulations to implement the
requirements of the ADA. See 28 CFR §36 and its successor the 2010 ADA Accessibility
Guidelines (hereinafter referred to as “ADAAG”), 28 C.F.R. Pait 36, under which said Department
may obtain civil penalties of up to $55,000.00 for the first violation and $1 10,000.00 for each
subsequent violation.l

25. Based on a preliminary inspection of the Premises, Defendant is in violation of 42
U.S.C. §12182 et. seq. and the 2010 ADA Standards et. seq., and is discriminating against Plaintiff
as a result of, inter alia, the following specific violations found in the Women’s Restroomz:

a. Providing a gate or door with a continuous opening pressure of greater than 5 lbs.
exceeding the limits for a person with a disability in violation of 2010 ADAAG
§§404, 404.1, 404.2, 404.2.9 and 309.4 and/or §4.13.11 of the 1991 ADA
Standards.

b. Failing to provide operable parts that are functional or are in the proper reach ranges
as required for a person with a disability in violation of 2010 ADAAG §§309,
309.1, 309.3 and 309.4 and/or §§4.27, 4.27.3 and 4.27.4 of the 1991 ADA

Standards.

 

' Effective April l, 2014 the civil penalties were increased, based on inflation, from $55,000.00 to

$75,000.00 for the first violation and from 8110,000.00 to $150,000.00 for subsequent violations
See 28 C.F.R. §§36 and 85.

2 It is believed these same violations exist in the Men’s Restroom. l-lowever, due to Ms. Hoyt’s
gender, same could not be confirmed by Plaintiff.

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c. Failing to provide the proper spacing between a grab bar and an object projecting
out of the wall in violation of 2010 ADAAG §§604, 604.5, 604.5.1, 604.5.2, 609,
609.3 and 609.4 and/or §§4.16.4, 4.26 and 4.26.2 of the 1991 ADA Standards.

d. Failing to provide toilet paper dispensers in the proper position in front of the water
closet or at the correct height above the finished floor in violation of 20 1 0 ADAAG
§§604, 604.7 and 309.4 and/or §4.16.6 of the 1991 ADA Standards.

e. Failing to provide grab bar(s) in violation of 2010 ADAAG §§604, 604.5, 609 and
609.4 and/or §§4.26 and 4.26.1 of the 1991 ADA Standards.

f. Failing to provide a coat hook for a person with a disability in violation of 2010
ADAAG §§603, 603.4 and 308 and/or §§4.25.3, 4.2.5 and 4.1.3 of the 1991 ADA
Standards.

g. Failing to provide mirror(s) located above lavatories or countertops at the proper
height above the finished floor in violation of 2010 ADAAG §§603 and 603.3
and/or §§4.19 and 4.19.6 of the 1991 ADA Standards.

h. Failing to provide the water closet in the proper position relative to the side wall or
partition in violation of 201 0 ADAAG §§604 and 604.2 and/or §§4.16, 4.17.2 and
4.17.3 of the 1991 ADA Standards.

i. Failing to provide the flush controls on the open side of the water closet in violation
of 2010 ADAAG §§604, 604.6, 604.8.2 and 604.9.5 and/or §§4.18.4 and §4.16.5
of the 1991 ADA Standards.

26. To the best of Plaintiff’ s belief and knowledge, at the time of filing this lawsuit

Defendant has failed to eliminate the specific violations set forth in paragraph 25 above.

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27. Although Defendant is charged with having knowledge of the violations Defendant
may not have had actual knowledge of said violations until this Complaint made Defendant aware
of same.

28. To date, the readily achievable barriers and violations of the ADA still exist and
have not been remedied or altered in such a way as to effectuate compliance with the provisions
of the ADA.

29. As the owner, lessor, lessee or operator of the Premises, Defendant is required to
comply with the ADA. To the extent the Premises, or portions thereof, existed and were occupied
prior to January 26, 1992, the owner, lessor, lessee or operator has been under a continuing
obligation to remove architectural barriers at the Premises where removal was readily achievable,
as required by 28 C.F.R. §36.402.

30. To the extent the Premises, or portions thereof, were constructed for occupancy
after January 26, 1993 the owner, lessor, lessee or operator of the Premises was under an obligation
to design and construct such Premises such that it is readily accessible to and usable by individuals
with disabilities as required by 28 C.F.R. §36.401.

31. Pursuant to the ADA, 42 U.S.C. §12101 et. seq., and 28 CFR §36.304, Defendant
was required to make the Premises, a place of public accommodation, accessible to persons with
disabilities by January 28, 1992. As of the date of the filing of this Complaint, Defendant has failed
to comply with this mandate.

32. Plaintiff has retained undersigned counsel for the filing and prosecution of this

action. Plaintiff is entitled to have her reasonable attomeys’ fees costs and expenses paid by

Defendant, pursuant to 42 U.S.C. §12205.

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33. The violations alleged in paragraph 25 above are readily achievable to modify in
order to bring the Premises or the Facility/Property into compliance with the ADA.

34. In the instances where the 2010 ADAAG Standards do not apply to the violations
listed in paragraph 25 above, the 1991 ADA Standards apply.

35. Pursuant to 42 U.S.C. §12188, this Court is vested with the authority to grant
Plaintiff's injunctive relief`, including entering an Order to alter the Premises to make them readily
accessible to and useable by individuals with disabilities to the extent required by the ADA and
closing the Premises until the requisite modifications are completed.

WHEREFORE, Plaintiff demands judgment against Defendant and requests the following
injunctive and declaratory relief:

1. This Court declare that the Premises owned, operated and/or controlled by
Defendant is in violation of the ADA;

2. This Court enter an Order requiring Defendant to alter the Premises and/or its
facilities to make them accessible to and usable by individuals with disabilities to
the full extent required by Title III of the ADA;

3. This Court enter an Order directing Defendant to evaluate and neutralize its
policies practices and procedures toward persons with disabilities for such
reasonable time so as to allow Defendant to undertake and complete corrective
procedures to the Premises;

4. This Court award reasonable attomeys’ fees all costs (including, but not limited to
the court costs and expert fees) and other expenses of suit to Plaintiff; and

5. This Court award such other and further relief as it may deem necessary, just and

proper.

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Dated: 8/27/201 8

Rcspectfully submitted by:

BY:

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/s/ Jason S. Weiss

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